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                       California Secretary of State, Conditional Approval of Los Angeles County’s Voting
  40      10/1/2020    Solutions for All People (VSAP) 2.1 Voting System
                       California Secretary of State Website, Voting Technologies Approved for Use in
  41      12/15/2020   California
  42       8/9/2019    Georgia Secretary of State, Dominion Voting System Certification
  43      11/19/2020   Georgia Risk-Limiting Audit Report
                       Georgia Secretary of State, Historic First Statewide Audit of Paper Ballots Upholds
  44      11/19/2020   Result of Presidential Race
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                     Georgia Secretary of State Press Release, Security-Focused Tech Company,
  46                 Dominion Voting to Implement New Verified Paper Ballot System
  47        1/6/2021 Georgia Secretary of State, Letter to Congress
  48                 Michigan Voter Information Center, Voting Systems Map
  49                 Michigan Secretary of State, Voting System Purchase
  50       11/6/2020 Michigan Department of State Press Release
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                     Pennsylvania Department of State, Electronic Voting Systems Certified After
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  54                 Votes PA, New Voting Systems
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  56      11/13/2020 Agency says
  57                 Arizona Secretary of State, 2020 Election Cycle/Voting Equipment
  58       12/1/2020 Twitter, @DougDucey
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  60                 Wisconsin Elections Commission, Voting Equipment
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  64                 Nevada Secretary of State, Facts v. Myths: Nevada 2020 Post-General Election
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  66      11/16/2020 Smartmatic Website, Smartmatic Fact-checked
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  74      11/25/2020   Dominion Website, Setting the Record Straight: Facts & Rumors
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  76      12/3/2020  Dominion Website, Election 2020: Setting the Record Straight: Facts & Rumors
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  78      11/11/2020 History
  79      11/26/2020 ES&S Website, Getting the facts straight about elections
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  89        5/2/2019 Vendors Come Under Scrutiny
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  93      3/11/2020  Loyola Marymount University, 2020 LA Votes Presidential Primary Exit Poll
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  99       11/4/2020   Post-Election Joint Statement from NASS and NASED

 100      11/4/2020    CISA, Statement from CISA Director Krebs Following Final Day of Voting
                       The New York Times, The Times Called Officials in Every State: No Evidence of
 101      11/10/2020   Voter Fraud
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 105      11/12/2020   Council & Election Infrastructure Sector Coordinating Executive Committees
 106      11/16/2020   Letter from Election Security Specialists
 107      11/19/2020   Verify, No evidence that presidential election votes were tallied overseas
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 110      11/30/2020   President Trump’s Claims of Election Interference Are False

 111      12/1/2020    Associated Press, Disputing Trump, Barr says no widespread election fraud
 112       8/6/2018    NCSL, Voting System Standards, Testing and Certification
 113                   U.S. EAC, Voting Systems by Jurisdiction
 114                   Verified Voting Website, The Verifier – Search – November 2020
 115                   CISA, #Protect2020 Rumor vs. Reality
 116                   VoteTexas.gov, How to Vote

 117                 Texas Secretary of State, Voting System Examination(s) and Status for Dominion
                     Verified Voting Website, The Verifier – Search – November 2020, Filtered for
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 120      11/29/2020 ES&S Website, Let's get the facts straight
 121      12/25/2020 ES&S Website, Let's get the facts straight
 122        1/2/2021 ES&S Website, Let's get the facts straight
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 135      6/27/2021   The Atlantic, Inside William Barr's Breakup with Trump
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